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uNITEn sTATEs oF AMERICA, ) Q_EH/§ uSMDMHCmD
. . ) W OF"H A,»;me]
Plaintiff, )
)
v. ) cR. No. 02-20118-Ma
)
RAUL JARA, )
)
Defendant. )

 

ORDER DIRECTING CLERK TO ISSU'E WRIT OF HABEAS CORPUS

 

This matter is set for a re-sentencing hearing on
Wednesdayc Angust 24l 2905 at 9:00 a.m. The defendant, Raul Jara,
#18299-076, is confined as a prisoner at Federal Correctional
Institution, Victorville, Adelanto, California. It is necessary to
have Raul Jara appear in this court for the hearing.

IT IS THEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, Federal

Correctional Institution, Victorville, to have said Raul Jara before

jJ{/”/z__.

SAMU'EL I-I. MAYS, JR.
UNITED STATES DISTR.ICT JUDGE

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July , 2005.

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this court for the hearing.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:02-CR-201 18 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

